                                                                      Motion GRANTED.


                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                         AT NASHVILLE

T.C. ON BEHALF OF HER MINOR                   )
CHILD, S.C.,                                  )
                                              )   No. 3:17-CV-1098
               Plaintiff,                     )
                                              )   Judge Trauger
v.                                            )   Magistrate Judge Newbern
                                              )
METROPOLITAN GOVERNMENT OF                    )   JURY DEMAND
NASHVILLE AND DAVIDSON                        )
COUNTY, TENNESSEE, D/B/A                      )
METROPOLITAN NASHVILLE                        )
PUBLIC SCHOOLS,                               )
                                              )
               Defendant.                     )
                                              )


JOHN DOE AND JANE DOE #1, ON                  )
BEHALF OF THEIR MINOR                         )
CHILD, JANE DOE #2,                           )   No. 3:17-CV-1159
                                              )
               Plaintiff,                     )   Judge Trauger
                                              )   Magistrate Judge Newbern
v.                                            )
                                              )   JURY DEMAND
THE METROPOLITAN                              )
GOVERNMENT OF NASHVILLE AND                   )
DAVIDSON COUNTY, D/B/A                        )
METROPOLITAN NASHVILLE                        )
PUBLIC SCHOOLS                                )
                                              )
               Defendant.




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SALLY DOE, ON BEHALF OF HER               )
MINOR CHILD, SALLY DOE #2,                )
                                          )     No. 3:17-CV-1209
               Plaintiff,                 )
                                          )     Judge Trauger
v.                                        )     Magistrate Judge Newbern
                                          )
THE METROPOLITAN                          )     JURY DEMAND
GOVERNMENT OF NASHVILLE AND               )
DAVIDSON COUNTY, TENNESSEE                )
D/B/A METROPOLITAN NASHVILLE              )
PUBLIC SCHOOLS,                           )
                                          )
               Defendant.                 )



MARY DOE #1, ON BEHALF OF HER             )
MINOR CHILD, MARY DOE #2,                 )
                                          )     No. 3:17-CV-1277
               Plaintiff,                 )
                                          )     Judge Trauger
v.                                        )     Magistrate Judge Newbern
                                          )
THE METROPOLITAN GOVERNMENT               )     JURY DEMAND
OF NASHVILLE AND DAVIDSON                 )
COUNTY, D/B/A METROPOLITAN                )
NASHVILLE PUBLIC SCHOOLS                  )
                                          )
               Defendant.                 )
                                          )




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       JOINT MOTION TO CONSOLIDATE CASES AND TO WAIVE A JURY TRIAL

               The parties jointly request that the above cases be consolidated and that they be tried

jointly at a bench trial to be set at the case management conference. All parties consent to

withdrawal of their jury demands and consent to a bench trial. Fed. R. Civ. P. 38(d). The parties

anticipate submitting proposed case management orders and request that a trial date not be set

until the case management conference on August 27, 2018.

               Pursuant to Fed. R. Civ. P. 42(a)(1) & (2) the Court may consolidate multiple actions and

join the actions for a trial on any or all matters at issue if they involve common question of law

or fact. Here, as the Court has previously noted, these four cases involve both common questions

of law and fact. Accordingly, the parties request that the Court consolidate all four actions for

purposes of discovery and trial.




                                                    Respectfully submitted,


                                                    /s/Melissa Roberge
                                                    Keli J. Oliver, #21023
                                                    Melissa Roberge, #26230
                                                    Phylinda Ramsey #29545
                                                    Metropolitan Attorneys
                                                    PO Box 196300
                                                    Nashville, TN 37219
                                                    (615) 862-6341
                                                    (615) 862-6352 (fax)
                                                    Keli.Oliver@nashville.gov
                                                    Melissa.Roberge@nashville.gov
                                                    Phylinda.Ramsey@nashville.gov
                                                    Attorneys for Defendant Metropolitan
                                                    Government of Nashville and Davidson County




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